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                 13      Intex Recreation Corp. and Intex Marketing Ltd.

                 14                            UNITED STATES DISTRICT COURT
                 15             CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
                 16
                 17      In Re: Intex Recreation Corp., et al.   Lead Case No.: LA CV-16-03300-JAK (Ex)
                 18
                                                                 Consolidated Case No.:
                 19      Intex Recreation Corp.,                 LA CV16-03950 JAK (Ex)
                 20                         Plaintiff,
                 21      v.                                      JOINT STATUS REPORT

                 22      Bestway (USA), Inc., et al.
                 23                         Defendants.
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                 28
   F AEGRE D RINKER
B IDDLE & R EATH LLP
  ATTORNEYS AT LAW                                                                        JOINT STATUS REPORT
   LOS ANGELES, CA
                                                                           Lead Case No. LA CV-16-03300-JAK (Ex)
              Case 2:16-cv-03300-JAK-E Document 152 Filed 02/04/20 Page 2 of 3 Page ID #:1067



                     1          The parties jointly submit this Joint Status Report and proposed schedule
                     2   pursuant to the Court’s January 21, 2020 Order. 1 (Dkt. #150.)
                     3   Background and Collective Positions on the ’240 Proceeding (LA CV16-3950)
                     4          The history of LA CV16-3950 is set forth in the parties’ Stipulation to Stay
                     5   (Dkt. #111) and previous Joint Status Reports (including Dkts. #110, 130, and 149).
                     6   As set forth in Dkt. #149, the parties agree that the case should proceed with respect
                     7   to claims 18-22 and 30 of the ’240 Patent.
                     8          The parties agree that additional discovery is necessary, including with
                     9   respect to the accused products, Intex’s infringement and willful infringement
                 10      allegations, Bestway’s invalidity defenses (if any) subsequent to the post-grant
                 11      review of the ’240 Patent, and damages. The parties also agree to discuss whether
                 12      to pursue private mediation.
                 13             The parties propose that the case resume according to the schedule set forth
                 14      in the attached Exhibit A – Schedule Of Pretrial And Trial Dates For Patent Case.
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                 16
                 17      Dated: February 4, 2020             FAEGRE DRINKER BIDDLE & REATH LLP
                 18
                                                                    By: /s/ R. Trevor Carter
                 19                                                       R. Trevor Carter
                 20                                                       Attorney for Plaintiffs

                 21
                 22      Dated: February 4, 2020             DICKINSON WRIGHT PLLC

                 23
                                                                    By: /s/ Steven A. Caloiaro
                 24                                                       Steven A. Caloiaro
                 25                                                       Attorney for Defendants

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                          This matter originally consolidated four cases: -3300, -3483, -3950, and -1177. The parties
                 28      agreed to settle the -3300 case, which was dismissed in January 2017; and the -3483 and -1177
                         cases, which were dismissed July 18, 2018. Accordingly, only the -3950 case remains pending.
   F AEGRE D RINKER
B IDDLE & R EATH LLP
                                                                        1                        JOINT STATUS REPORT
  ATTORNEYS AT LAW                                                           LEAD CASE NO. LA CV-16-03300-JAK (Ex)
   LOS ANGELES, CA
              Case 2:16-cv-03300-JAK-E Document 152 Filed 02/04/20 Page 3 of 3 Page ID #:1068



                     1
                     2                                     ATTESTATION
                     3         I attest that all other signatories listed, and on whose behalf the filing is
                     4   submitted, concur in the content of this filing and have authorized the filing.
                     5   Dated: February 4, 2020                 /s/ R. Trevor Carter
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B IDDLE & R EATH LLP
                                                                                       JOINT STATUS REPORT
  ATTORNEYS AT LAW                                                        LEAD CASE NO. LA CV-16-03300-JAK (Ex)
   LOS ANGELES, CA
